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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION at LEXINGTON

                                        )
                                        )           MDL No. 1877
                                        )             ALL CASES
  IN RE CLASSICSTAR MARE LEASE          )
  LITIGATION                            )           Master File:
                                        ) Civil Action No. 5:07-cv-353-JMH
                                        )
                                        )

                        MEMORANDUM OPINION AND ORDER

                                   *** *** ***

        This matter is before the Court on a Motion for a Protective

  Order filed by GeoStar Corporation (hereinafter, “GeoStar”), Tony

  Ferguson,     John     Parrot,     and    Thom    Robinson     (hereinafter,

  collectively, “Movants”) [Lexington Civil Action No. 07-353-JMH,

  Record No. 492].1

        In that Motion, Movants have requested a limited protective

  order deferring certain discovery of the Movants in light of a

  pending criminal investigation in Oregon into matters related to

  the case at bar.        Movants believe that they may potentially be

  subject to criminal proceedings as a result of that investigation.

  If no stay of non-document discovery is set into place, the

  individual defendants opine that they will be forced to assert the



        1
        Also docketed at Lexington Civil Action Nos. 06-243-JMH
  [Record No. 243]; 07-347-JMH [Record No. 70]; 07-348-JMH [Record
  No. 103]; 07-349-JMH [Record No. 86]; 07-351-JMH [Record No. 29];
  07-352-JMH [Record No. 40]; 07-419-JMH [Record No. 53]; 08-17-JMH
  [Record No. 15]; 08-53-JMH [Record No. 64]; 08-79-JMH [Record No.
  10]; 08-104-JMH [Record No. 10]; 08-109-JMH [Record No. 62]; 08-
  321-JMH [Record No. 6].
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  Fifth Amendment privilege against self-incrimination in response to

  non-document discovery requests in the present matter. The Movants

  express concerns that they will then be vulnerable to adverse

  inferences that may be drawn from such a response and hope that, by

  delaying the discovery for a short while, they will be in a better

  position to evaluate whether or not they even need to exercise

  their Fifth Amendment privilege against self-incrimination.              Thus,

  they argue they may be able to avoid any            further inconvenience to

  the other parties and injury to the scheduling order in place in

  this matter.

        John   Goyak    and   Associates,     Inc.,    filed   a   response    in

  opposition thereto [Lexington Civil Action No. 07-353-JMH, Record

  No. 495].2     Other parties also filed a response in opposition to

  the Motion for Protective Order: Michael Ginaldi and Ginaldi

  Thoroughbreds, LLC [Lexington Civil Action No. 07-353-JMH, Record

  No. 502], Nelson      Breeders, LC, MacDonald Stables, LLC, Jaswinder

  and Monica Grover, West Hills Farms, LLC, and Arbor Farms, LLC

  (hereinafter, “West Hills Farms Plaintiffs”) [Lexington Civil

  Action No. 07-353-JMH, Record No. 505]3, and J&L Canterbury Farms,



        2
        Also docketed at Lexington Civil Action No. 08-53-JMH [Record
  No. 72].
        3
        The West Hills Farms Plaintiffs also filed a Motion for a
  Status Conference, seeking a hearing on this motion. [Lexington
  Civil Action No. 07-353-JMH (Record No. 484); Lexington Civil
  Action No. 06-243-JMH (Record No. 239)]. That motion, apparently
  withdrawn, as well, shall be denied as moot.

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  LLC, and Leo and Jean Hertzog [Lexington Civil Action No. 07-353-

  JMH, Record No. 506], and Spencer D. Plummer, III, S. David

  Plummer, II, S. David Plummer, Buffalo Ranch, David Plummer, and

  Spencer Plummer [Lexington Civil Action No. 07-353-JMH, Record No.

  508].

          Movants filed a Reply in further support of their Motion for

  a Protective Order [Lexington Civil Action No. 07-353-JMH, Record

  No. 524]4, responsive to the Goyak’s Response and objections, as

  well        as   several   documents     styled   Proposed   Agreed   Orders   and

  Stipulations which purport to resolve the dispute presented by the

  Motion for Protective Order with regard to the other interested

  parties [Lexington Civil Actions 06-243-JMH (Record No. 251)5, 07-

  349-JMH          (Record   No.   92)6,   08-109-JMH   (Record   No.   69)7]    with

  reference to the Motion for Protective Order.

          With the exception of Respondents John Goyak, Dana Goyak, John

  Goyak and Associates, Inc., and Jupiter Ranches, LLC, all of the

  parties that originally objected to the Motion for Protective Order

  have withdrawn their objections by virtue of the proposed agreed


          4
        Also docketed at Lexington Civil Action No. 08-53-JMH, Record
  No. 82.
          5
        Also docketed at Lexington Civil Action No. 07-353-JMH:
  Record No. 518.
          6
        Also docketed at Lexington Civil Action No. 07-353-JMH,
  Record No. 519.
          7
        Also docketed at Lexington Civil Action No. 07-353-JMH,
  Record No. 520.

                                              3
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  orders presented to the Court.          As a result, the Court understands

  that the responding parties, save the Goyak Plaintiffs, have agreed

  to delay scheduling the depositions of and requiring responses to

  interrogatories or requests for admissions by Defendants Tony

  Ferguson, John Parrot, and Thom Robinson until December 1, 2008.

  Further, the Movants have withdrawn their other requests for relief

  and   are    in    agreement    with   the   other    parties   that   all   other

  discovery,        including    depositions    of     third   parties   and   other

  employees of the various parties, should proceed apace at this

  time.       As Movants no longer seek a protective order preventing

  discovery of GeoStar itself, the Motion for a Protective Order is

  moot in that respect.

          The Court being sufficiently advised, it must now carefully

  consider the remaining request for relief and the objections of the

  Goyak Plaintiffs.8       Specifically, the Goyak Plaintiffs argue that

  Tony Ferguson, John Parrot, and Thom Robinson are not entitled to


          8
            Also on August 26, 2008, Plaintiffs John Goyak, Dana
  Goyak, John Goyak and Associates, Inc., and Jupiter Ranches, LLC,
  filed an objection [Lexington Civil Action No. 07-353-JMH, Record
  No. 525; Lexington Civil Action No. 08-53-JMH, Record No. 83] to
  the Proposed Agreed Orders and Stipulations. A response and reply
  with regard to this motion have also been filed. [Lexington Civil
  Action No. 08-53-JMH, Record Nos. 87 and 91] The Goyak Plaintiffs
  request that this Court strike the proposed Agreed Orders since
  they have not acquiesced in the motion. The Court does not believe
  that such relief is warranted as none of the papers indicate that
  the Goyak Plaintiffs have agreed to anything, the Goyak Plaintiff’s
  have had ample opportunity to state their objections to the Motion
  for Protective Order, and the Court has noted and considered the
  Goyak Plaintiff’s opposition to the Motion for Protective Order.
  Accordingly, this request for relief will be denied.

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  a stay of discovery merely because a criminal investigation is

  ongoing, because criminal charges are pending or possible, or where

  a threat to a defendant’s Fifth Amendment privilege is negligible.

  They ask that the Court deny the motion and permit them to proceed

  with discovery of all individual defendants.

        Certainly, the law of the Sixth Circuit, the jurisdiction from

  which the individual matter of Goyak v. ClassicStar, LLC, hails, is

  clear.     A defendant is not entitled to a stay because of the

  overlap in subject matter between a civil action and a criminal

  proceedings which forces him or her to invoke his or her Fifth

  Amendment privilege during civil proceedings. U.S. v. Certain Real

  Property, 566 Hendrickson Blvd., Clawson, Oakland County, Mich.,

  986 F.2d 990, 997 (6th Cir. 1993); see also Keating v. Office of

  Thrift Supervision, 325 F.3d 322, 326 (9th Cir. 1995) (“[A]

  defendant has no absolute right not to be forced to choose between

  testifying in a civil matter and asserting his Fifth Amendment

  privilege.”); Fed. Sav. and Loan Ins. Corp. v. Molinaro, 889 F.2d

  899, 902-03 (9th Cir. 1989) (affirming denial of stay where no

  indictment    yet   returned    because    “the   case   for   staying   civil

  proceedings is a far weaker one when no indictment has been

  returned and no Fifth Amendment privilege is threatened.”)

        That said, “[t]he scope of discovery is within the sound

  discretion of the trial court.”        S.S. v. East. Ky. Univ., 532 F.3d

  445, 451 (6th Cir. 2008).          In this instance, Movants have not


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  requested a stay of the civil proceedings in their entirety nor

  have they actually invoked the Fifth Amendment privilege against

  self-incrimination; rather they ask the court to stay non-document

  discovery of the movants for a time in order that they may – prior

  to answering discovery – have a further opportunity to ascertain

  whether the criminal matter will proceed and whether they will be

  the subject of those proceedings, all in the hope that they may

  avoid the need to “plead the Fifth,” i.e., the privilege against

  self-incrimination, during their participation in discovery in this

  civil case.

        The Goyak Plaintiffs have a right to discovery of these

  individual    defendants     (a   right    which    the   Movants   purport   to

  recognize) and their day in court.            Nonetheless, the Court finds

  that the short stay requested by individual Defendants Ferguson,

  Parrott, Robinson, David Plummer, and Spencer Plummer only as to

  discovery directed at them – not other parties, employees of

  GeoStar, or other third-parties – is not unreasonable at this

  juncture and may well serve the interest of economy and expediency,

  notwithstanding the initial delay.9          Defendants Ferguson, Parrott,

  Robinson, David Plummer, and Spencer Plummer’s request for relief

  is well taken on this occasion and shall be granted.

        The   Goyak   Respondents’     desire    to    commence   and   conclude


        9
        Indeed, three months will remain for fact discovery and over
  six months will remain for expert discovery in this matter as of
  December 1, 2008.

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  discovery of these defendants in this case must, however, be

  respected. For this reason, the Court wishes these Movants to know

  that future requests for delays and extensions of discovery may not

  be well received.       Further, this Court shall order that responses

  to interrogatories or requests for admissions served to Defendants

  Tony Ferguson, John Parrott, Thom Robinson, David Plummer, and

  Spencer Plummer prior to the filing of the Motion for Protective

  Order at bar should be made and served on all required parties no

  later than December 1, 2008.

        Accordingly, IT IS ORDERED

        (1)   that the request made by Plaintiffs John Goyak, Dana

  Goyak, John Goyak and Associates, Inc., and Jupiter Ranches, LLC,

  that the Court strike certain proposed agreed orders [Lexington

  Civil Action No. 07-353-JMH, Record No. 525; Lexington Civil Action

  No. 08-53-JMH, Record No. 83] shall be, and the same hereby is,

  DENIED;

        (2)   that the West Hills Farms Plaintiffs’ Motion for a Status

  Conference [Lexington Civil Action No. 07-353-JMH (Record No. 484);

  Lexington Civil Action No. 06-243-JMH (Record No. 239)] shall be,

  and the same hereby is, DENIED AS MOOT;

        (3)   that the Motion for a Protective Order filed by GeoStar

  Corporation,     Tony    Ferguson,    John   Parrot,    and   Thom   Robinson

  [Lexington Civil Action Nos. 07-353-JMH, Record No. 492; Lexington

  Civil Action Nos. 06-243-JMH [Record No. 243]; 07-347-JMH [Record


                                         7
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  No. 70]; 07-348-JMH [Record No. 103]; 07-349-JMH [Record No. 86];

  07-351-JMH [Record No. 29]; 07-352-JMH [Record No. 40]; 07-419-JMH

  [Record No. 53]; 08-17-JMH [Record No. 15]; 08-53-JMH [Record No.

  64]; 08-79-JMH [Record No. 10]; 08-104-JMH [Record No. 10]; 08-109-

  JMH [Record No. 62]; 08-321-JMH [Record No. 6]]. shall be, and the

  same hereby is, GRANTED IN PART and DENIED AS MOOT IN PART;

        (4)   that the depositions of Defendants Tony Ferguson, John

  Parrott, and Thom Robinson shall not be scheduled to take place

  prior to December 1, 2008;

        (5)   that Defendants Tony Ferguson, John Parrott, and Thom

  Robinson shall not be required to respond to interrogatories or

  requests for admissions prior to December 1, 2008, but shall make

  and serve their responses to all timely served discovery requests

  no later than December 1, 2008;

        (6)   that all other permitted forms of discovery of and by the

  parties shall proceed unless otherwise made the subject of an order

  of this Court.

        This the 28th day of October, 2008.




                                         8
